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     Interim Lead Counsel for the
 6   Indirect Purchaser Plaintiffs
 7

 8
                               UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: CATHODE RAY TUBE (CRT)  )          Master File No. 3:07-cv-5944 SC
     ANTITRUST LITIGATION           )
12                                  )          MDL No. 1917
                                    )
13                                  )          NOTICE OF VOLUNTARY DISMISSAL
                                    )          WITHOUT PREJUDICE AS TO
14                                  )          DEFENDANT DAEWOO ELECTRONICS
15                                  )          CORPORATION
                                    )          [F.R.C.P. 41(a)(1)]
16                                  )
                                    )
17                                  )
     This document relates to:      )
18                                  )
19   ALL INDIRECT PURCHASER ACTIONS )          The Honorable Samuel Conti
                                    )
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               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE, MDL NO. 1917
     Case 3:07-cv-05944-JST Document 524 Filed 07/28/09 Page 2 of 2



 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1), the Indirect Purchaser Plaintiffs in

 2   the above-captioned actions, through counsel, hereby dismiss without prejudice all claims made

 3   these actions against Daewoo Electronics Corporation.

 4

 5   Dated: July 24, 2009                 Respectfully submitted,
 6
 7                                        By:     /s/ Mario N. Alioto
                                                  Mario N. Alioto (56433) malioto@tatp.com
 8
                                                  Lauren C. Russell (241151) laurenrussell@tatp.com
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13                                                Interim Lead Counsel for the Indirect Purchaser
                                                  Plaintiffs
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19                     ATTESTATION PURSUANT TO GENERAL ORDER 45
20          I, Lauren C. Russell, attest that concurrence in the filing of this document has been
21   properly obtained from the signatory, Mario N. Alioto. I declare under penalty of perjury under
22   the laws of the United States of America that the foregoing is true and correct. Executed this
23   24th day of July, 2009, in San Francisco, California.
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                                                     /s/ Lauren C. Russell
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                  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE, MDL 1917
